Case 1:22-cr-20104-JB Document 883 Entered on FLSD Docket 10/24/2024 Page 1 of 4


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 22-20104-CR-BECERRA

 UNITED STATES OF AMERICA,

              Plaintiff,
 v.

 ARCANGEL PRETEL ORTIZ,

         Defendant.
 _________________________________/

                 FEDERAL PUBLIC DEFENDER’S MOTION TO WITHDRAW
                   AND TO APPOINT CONFLICT-FREE COUNSEL

         The Office of the Federal Public Defender respectfully submits this motion to

 withdraw and to appoint conflict-free counsel and in support thereof states as follows.

      1. Mr. Ortiz is charged by way of indictment with providing material support or

 resources to carry out a violation resulting in death in violation of 18 U.S.C.

 § 2339(A)(a), conspiracy to kill or kidnap outside the United States in violation of 18

 U.S.C. § 956(a)(1), and related charges. (DE 552).

         2.       The Office of the Federal Public Defender was appointed to represent

 Mr. Ortiz. (DE 120).

         3.       Trial is currently scheduled to commence on January 21, 2025, with

 calendar call scheduled for January 14, 2025. (DE 651). A motion to continue is

 pending. (DE 844).

         4.       It has recently come to the attention of undersigned counsel that an

 irreconcilable conflict of interest exists between Mr. Ortiz and another current client

 of the Office of the Federal Public Defender (“FPD”). Due to the nature of the conflict,
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Case 1:22-cr-20104-JB Document 883 Entered on FLSD Docket 10/24/2024 Page 2 of 4


 and following consultation with Federal Public Defender Hector Dopico, undersigned

 counsel respectfully requests that the Court discharge the FPD and appoint

 independent counsel to represent Mr. Ortiz.

        5.     The Federal Public Defender consulted with ethics expert, Brian

 Tannebaum, Esq., and he advised that there is an actual conflict and that the FPD

 office must withdraw from the case.

        6.     The undersigned also contacted the Florida Bar Ethics Hotline to seek

 advice from bar counsel. The undersigned was again advised that there is a conflict

 that cannot be waived and that the FPD should withdraw.

        7.     Mr. Ortiz is entitled to conflict-free representation pursuant to both the

 Sixth Amendment’s guarantee of effective assistance of counsel, see Cuyler v.

 Sullivan, 446 U.S. 335 (1980); Halloway v. Arkansas, 435 U.S. 475 (1978); McConico

 v. Alabama, 919 F.2d 1543 (11th Cir. 1990), and the Rules Regulating the Florida

 Bar, see Fla R. Prof’l Resp. 4-1.7(a) (“[a] lawyer must not represent a client if: (1) the

 representation of 1 client will be directly adverse to another client; or (2) there is a

 substantial risk that the representation of 1 or more clients will be materially limited

 by the lawyer’s responsibilities to another client, a former client or a third person or

 by a personal interest of the lawyer.”). 1

        8.     Public defender offices are analyzed as law firms for purposes of imputed

 conflicts of interest; therefore, if any lawyer within the office would be prohibited from

 representing a client, all members of the office are prohibited from knowingly


      1 This Court’s Local Rules incorporate the Florida Bar’s Rules of Professional
 Conduct. See S.D. Fla. Local Rule 11.1(c) (Rev. Dec. 1, 2022).
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Case 1:22-cr-20104-JB Document 883 Entered on FLSD Docket 10/24/2024 Page 3 of 4


 representing that client. See Fla R. Prof’l Resp. 4-1.10(a); Cmt. To Fla R. Prof’l Resp.

 4-1.10 (defining “firm” and explaining how conflict imputation applies to legal

 services organizations).

          9.    The Office of the Federal Public Defender and undersigned counsel have

 a conflict of interests as to the continued representation of Mr. Ortiz, as described

 above.

          10.   Accordingly, undersigned counsel respectfully requests that this Court

 permit the Office of the Federal Public Defender to withdraw, and to appoint conflict-

 free counsel. Cf. Wheat v. United States, 486 U.S. 153, 163 (1988); United States v.

 Ross, 33 F.3d 1507, 1523 (11th Cir. 1994).

          11.   Undersigned counsel has advised AUSA Andrea Goldbarg that she

 intends to move to withdraw.

          WHEREFORE, undersigned counsel respectfully requests that the Court issue

 orders allowing the Federal Public Defender’s Office to withdraw from the

 representation of Mr. Ortiz and appointing substitute, conflict-free counsel.


                                         Respectfully submitted,

                                         HECTOR DOPICO
                                         FEDERAL PUBLIC DEFENDER

                                   BY:    /s/Bunmi Lomax
                                         Bunmi Lomax
                                         Assistant Federal Public Defender
                                         Special A Number: A5501975
                                         150 West Flagler Street
                                         Suite 1700
                                         Miami, Florida 33130-1556
                                         Tel: 305-530-7000
                                         bunmi_lomax@fd.org
                                            3
Case 1:22-cr-20104-JB Document 883 Entered on FLSD Docket 10/24/2024 Page 4 of 4


                            CERTIFICATE OF SERVICE

       I HEREBY certify that on October 25, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.           I also certify that the

 foregoing document is being served this day on all counsel of record via transmission

 of Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.


                                        /s/Bunmi Lomax
                                           Bunmi Lomax




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